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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                          CASE NO. 21-81331-CIV-CANNON/Reinhart

  AFFORDABLE AERIAL PHOTOGRAPHY, INC.,

          Plaintiff,
  v.

  JOHN ABDELSAYED and
  TRENDS REALTY USA CORP.,

          Defendants.
                                                               /

                  ORDER GRANTING REQUESTS TO REOPEN DISCOVERY
                   AND RESETTING PRE-TRIAL AND TRIAL DEADLINES

          THIS CAUSE comes before the Court upon Defendants’ Motions to Strike the Affidavits

  of Robert Stevens and to Reopen Discovery (the “Motions”) [ECF Nos. 120, 124], in which

  Defendants request, among other things, that the Court “reopen discovery to allow [D]efendants

  to question Robert Stevens at a deposition of at least five hours to address [Plaintiff’s] new legal

  theory” and to “depose Cornelius McGinnis” [ECF No. 120 p. 13, ¶ e; ECF No. 124 p. 6, ¶ d].

  The Court has reviewed the Motions [ECF Nos. 120, 124], Plaintiff’s Responses in Opposition to

  the Motions [ECF Nos. 121, 126], Defendants’ Reply [ECF Nos. 127], and the full record.

  Following review, the Court finds good cause to reopen discovery in light of (1) the parties’ recent

  realization that the photograph used by Defendants is not an exact copy of Plaintiff’s registered

  photograph, and (2) the hard drive of additional photographs found by Robert Stevens.

          Accordingly, it is hereby

          ORDERED AND ADJUDGED as follows:

       1. The Motions to Strike the Affidavits of Robert Stevens and to Reopen Discovery

          [ECF Nos. 120, 124] are GRANTED IN PART AND DENIED IN PART.
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             a. Defendants’ requests to reopen discovery [ECF No. 120 p. 13, ¶ e; ECF No. 124

                 p. 6, ¶ d] are GRANTED. Discovery is reopened for the limited purpose of

                 deposing Robert Stevens and Cornelius McGinnis in accordance with the

                 issues raised in the Motions to Strike [ECF Nos. 120, 124].

             b. Defendants may file a motion for attorneys’ fees as contemplated [see

                 ECF No. 120 p. 13, ¶ f; ECF No. 124 p. 6] for the Court’s consideration on or before

                 September 2, 2022.

             c. Defendants’ other requests are DENIED.

      2. The Cross Motions for Summary Judgment [ECF Nos. 109, 110] are DENIED

         WITHOUT PREJUDICE to be refiled, if desired, following the close of discovery in

         accordance with the new deadlines set forth below.

      3. Trial in this matter is hereby reset for the Court’s two-week trial calendar beginning on

         December 19, 2022, at 9:00 a.m. Counsel for all parties shall appear at a calendar call on

         Tuesday, December 13, 2022, at 1:45 p.m. Motions to Bring Electronic Equipment into

         the Courtroom must be filed one week in advance of the relevant hearing and must describe

         with specificity the electronic equipment intended for use in the courtroom. No pretrial

         conference will be held unless a party requests one at a later date and the Court determines

         that one is necessary. Unless instructed otherwise by subsequent order, the trial and all

         other proceedings in this case shall be conducted at the Alto Lee Adams, Sr. United States

         Courthouse, 101 South U.S. Highway 1, Courtroom 4008, Fort Pierce, Florida 34950. 1




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    This Order supersedes the Order Setting Trial [ECF No. 22] with respect to the deadlines
  contained herein. All other instructions contained in the Order Setting Trial [ECF No. 22] remain
  in effect.
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        4. The following pre-trial deadlines are reset in the manner set forth below:

               a. August 30, 2022. All discovery shall be completed.

               b. September 16, 2022. The parties shall file all pre-trial motions, including any
                  revised motions for summary judgment, and Daubert motions. Each party is
                  limited to filing one Daubert motion. If a party cannot address all evidentiary
                  issues in a 20-page memorandum, it must petition the Court for leave to include
                  additional pages. The parties are reminded that Daubert motions must contain the
                  Local Rule 7.1(a)(3) certification. The parties are directed to review the Court’s
                  procedure for the filing of summary judgment motions as set out in the Order
                  Setting Trial [ECF No. 22].

               c. September 16, 2022. The parties may consent to trial and final disposition by
                  Magistrate Judge Reinhart, as discussed in the Order Setting Trial [ECF No. 22].

               d. November 21, 2022. The parties shall file the following materials:

                       (1) a joint pre-trial stipulation pursuant to Local Rule 16.1(e);

                       (2) a joint exhibit list and a joint trial plan in accordance with the Court’s
                           templates available at https://www.flsd.uscourts.gov/content/judge-aileen-
                           m-cannon (under “Civil Procedures” tab);

                       (3) individually filed witness lists and deposition designations (and objections
                           thereto and counter designations);

                       (4) joint proposed jury instructions and verdict form in accordance with the
                           instructions set forth in the Order Setting Trial [ECF No. 22], or proposed
                           findings of fact and conclusions of law, as applicable; and

                       (5) any motions in limine (other than Daubert motions). Each party is limited
                           to filing one motion in limine, which may not, without leave of Court,
                           exceed the page limits allowed by the Rules. The parties are reminded
                           that motions in limine must contain the Local Rule 7.1(a)(3)
                           certification.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida this 25th day of July 2022.




                                                             _________________________________
                                                             AILEEN M. CANNON
                                                             UNITED STATES DISTRICT JUDGE

  cc:      counsel of record

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